Case 2:09-cr-00155-MHT-WC Document 212 Filed 02/10/10 Page 1 of 6
Case 2:09-cr-00155-MHT-WC Document 212 Filed 02/10/10 Page 2 of 6
Case 2:09-cr-00155-MHT-WC Document 212 Filed 02/10/10 Page 3 of 6
Case 2:09-cr-00155-MHT-WC Document 212 Filed 02/10/10 Page 4 of 6
Case 2:09-cr-00155-MHT-WC Document 212 Filed 02/10/10 Page 5 of 6
Case 2:09-cr-00155-MHT-WC Document 212 Filed 02/10/10 Page 6 of 6
